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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   WESTFIELD INSURANCE COMPANY,                      )
                                                     )
                               Plaintiff,            )
                                                     )
                          v.                         )    Case No. 1:16-cv-02269-TWP-MJD
                                                     )
   TCFI BELL SPE III LLC, and                        )
   BELL AQUACULTURE LLC,                             )
                                                     )
                               Defendants.           )
                                                     )
                                                     )
   BELL AQUACULTURE LLC,                             )
                                                     )
                               Counter Claimant,     )
                                                     )
                          v.                         )
                                                     )
   WESTFIELD INSURANCE COMPANY,                      )
                                                     )
                               Counter Defendant.    )

                 ENTRY ON PENDING MOTIONS NO. 181, 193, 216 AND 217

          This matter involves an insurance coverage dispute between Plaintiff Westfield Insurance

   Company (“Westfield”) and Defendants TCFI Bell SPE III LLC (“TCFI Bell”) and Bell

   Aquaculture LLC (“Bell”) (collectively “Defendants”). Currently pending before the Court are

   various ancillary Motions associated with the parties’ pending Motions for Partial Summary

   Judgment: (1) Bell’s Motion for Leave to Incorporate by Reference Certain Portions of Its

   Response in Opposition to Westfield’s Motion for Partial Summary Judgment as to Bell’s Bad

   Faith and Punitive Damages Claims (DKT. 189) into Its Combined Memorandum in Support of

   Its Cross-Motion for Partial Summary Judgment/Response in Opposition to Westfield’s Motion

   for Partial Summary Judgment (DKT. 110) (“Motion to Incorporate”) (Filing No. 193); (2) Bell’s
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   Motion for Leave to Supplement Its Appendix of Exhibits in Support of Its Response in Opposition

   to Westfield’s Motion for Partial Summary Judgment as to Bell’s Bad Faith and Punitive Damage

   Claims (“Motion to Supplement Appendix”) (Filing No. 216); (3) Bell’s Motion for Leave to File

   Surreply in Further Opposition to Westfield’s Motion for Partial Summary Judgment (“Motion to

   File Surreply”) (Filing No. 217); and (4) Westfield’s and Non-party HSB’s Objection to the

   Magistrate Judge’s May 25, 2018 Order on Discovery Motions (DKT. #175) (“Objection to

   Magistrate Judge’s Order”) (Filing No. 181). The Court will address these four pending Motions

   in turn. The summary judgment motions will be resolved under separate order.

   A.     Bell’s Motion to Incorporate (Filing No. 193)

          Westfield and Bell filed cross-motions for partial summary judgment on the issue of

   whether an insurance policy issued by Westfield provides coverage for the loss of Bell’s fish under

   the “Equipment Breakdown Coverage Endorsement.” In support of its motion, and in opposition

   to Westfield’s cross-motion, Bell argued that the endorsement at least creates an ambiguity, which,

   under Indiana law, must be construed in Bell’s favor. After the cross-motions for partial summary

   judgment were fully briefed, Westfield filed a second motion for partial summary judgment; this

   second motion concerned Bell’s claim for bad faith and punitive damages. Further discovery was

   completed and Bell re-deposed a representative of The Hartford Steam Boiler Inspection and

   Insurance Company (“HSB”), which is Westfield’s reinsurer. HSB reinsured the equipment

   breakdown coverage endorsement and played a large role in the investigation and adjustment of

   Bell’s insurance claim.

          During the deposition of HSB’s representative, Bell learned that some HSB adjusters

   previously have paid claims involving animals despite the policies’ inclusion of the “animals

   exclusion,” which is at issue in this case. Bell learned this information in time to include it in its



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   response brief, opposing Westfield’s second motion for partial summary judgment, regarding the

   bad faith claim. Bell asserts that this information also is directly relevant to its argument that the

   equipment breakdown coverage endorsement is ambiguous, an argument asserted in response to

   the first motion for partial summary judgment. Bell asks the Court for leave to incorporate into its

   response brief to the first motion for partial summary judgment portions of its response brief to the

   second motion to include this new information. Specifically, Bell asks to incorporate:

          a. Bell’s “Additional material facts preclud[ing] summary judgment in favor of
          Westfield,” Nos. 130 – 134 (Dkt. 189 at 27-28), incorporated into Dkt. 110 at 11;

          and

          b. The final two paragraphs in Section IV(B)(1)(a) (Dkt. 189 at 34-35) incorporated
          into Dkt. 110 at 20, at the conclusion of Section IV(B)[.]

   (Filing No. 193 at 4.) Bell asserts that it only recently discovered this information, and justice

   requires that Bell be given the opportunity to fully present its arguments to the Court.

          Westfield responds that Bell’s request to incorporate is untimely, coming more than seven

   months after briefing was completed on the first summary judgment motion. Regarding the

   requested incorporation, Westfield argues, “if permitted, the same would operate to preclude

   Westfield from addressing Bell’s evidence and legal arguments, even though it has now done so

   in its recently filed Reply submissions on Bell’s bad faith claim. See, Dkt. #200 - #204 and #206.”

   (Filing No. 215 at 3.) Westfield asserts that Bell’s incorporation would give Bell the final—and

   only—word on these new facts and argument as they relate to the first summary judgment motion,

   which would unfairly prejudice Westfield. Additionally, Westfield argues that the evidence and

   argument Bell seeks to incorporate are irrelevant to the first summary judgment motion, which

   concerns the interpretation of the insurance policy and which does not involve consideration of

   extrinsic evidence.



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           In order to manage its docket, to keep the case moving, and in fairness to the parties, the

   Court has discretion to allow or prohibit supplemental materials (in this case incorporation of later-

   filed argument and evidence) after summary judgment briefing is closed. See Pfeil v. Rogers, 757

   F.2d 850, 857–58 (7th Cir. 1985) (briefing schedules and local rules serve “the purpose of properly

   framing the issues in allowing the moving party to respond to all of the resisting party’s arguments

   in its reply brief as well as allowing the trial court to organize and control its calendar in an orderly

   manner”); see also Vance v. Ball State Univ., 646 F.3d 461, 468–69 (7th Cir. 2011).

           In light of the timing of the parties’ discovery efforts and when Bell discovered this new

   information, the Court determines that, out of fairness to Bell to be given the opportunity to fully

   present its arguments to the Court, incorporation is warranted in this case. The Court notes that

   this new evidence and argument is already in the summary judgment record before the Court, albeit

   under a separate summary judgment motion. Thus, allowing this incorporation will not delay the

   case. Furthermore, the Court is capable of fairly and accurately reviewing the designated evidence

   proffered by Bell to determine what is relevant to the issues and to determine what the evidence

   actually says, rather than a party’s representation of that evidence. Additionally, Westfield noted

   in its response that it actually did reply to this new evidence and argument by “its recently filed

   Reply submissions on Bell’s bad faith claim.” Therefore, the Court will allow Bell’s requested

   incorporation into the summary judgment materials for the “animals exclusion” motion, and, out

   of fairness to all parties, the Court also will take into consideration the submissions that Westfield

   provided with its Reply Brief on the bad faith claim. Bell’s Motion to Incorporate (Filing No. 193)

   is granted.




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   B.      Bell’s Motion to Supplement Appendix (Filing No. 216)

           Bell asks the Court for leave to supplement its designated evidence in opposition to

   Westfield’s summary judgment motion on the bad faith claim. In its Reply Brief, Westfield

   challenged the authenticity and admissibility of a number of Bell’s response exhibits because they

   lacked authentication and a sworn statement. Bell now seeks to supplement the evidence to submit

   affidavits that will provide authentication for the previously-filed exhibits, and Bell argues there

   is no real dispute as to the exhibits’ actual authenticity; instead, there is only the missing sworn

   statements. Furthermore, some of the documents Westfield challenges were produced by Westfield

   to Bell and were relied upon by Westfield in prior motions practice. Bell asserts that supplementing

   the evidence with its affidavits will not prejudice Westfield because Westfield has had the

   underlying evidence for some time and even relied upon and responded to the evidence. The

   proposed supplementation simply authenticates the underlying evidence.

           Bell notes that Federal Rule of Civil Procedure 56(e) provides that “[i]f a party fails to

   properly support an assertion of fact or fails to properly address another party’s assertion of fact

   as required by Rule 56(c), the court may . . . give an opportunity to properly support or address the

   fact.” Also, Local Rule 56-1(l) provides that, “in the interest of justice or for good cause, [the Court

   may] excuse failure to comply strictly with [Local Rule 56-1].” Bell asserts that courts in this

   District routinely allow supplementation to summary judgment materials. See Vest v. Al-Shami,

   2014 U.S. Dist. LEXIS 23294, at *21 n.15 (S.D. Ind. Feb. 24, 2014) (“granted Plaintiff’s motion

   to amend the exhibit to include [expert’s] sworn declaration”); Harpold v. Ethicon Endo-Surgery,

   Inc., 2009 U.S. Dist. LEXIS 20527, at *1–2 (S.D. Ind. Mar. 11, 2009) (“belated affidavit is

   sufficient to support the use of the report at the summary judgment stage”).




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           Westfield responds that Bell’s request to file authenticating statements is an overreach to

   get around the Local Rules and Trial Rules, and Bell was aware that it needed to submit

   authenticating statements with its evidence because Westfield already had filed evidence with

   authenticating statements, thereby setting the example in this case. Westfield complains that it had

   to use nine of its twenty-five allotted pages in its reply brief to address Bell’s authentication issues

   and allowing Bell to now supplement to cure that problem would prejudice Westfield by depriving

   it of those nine reply brief pages. Bell could have met its obligation to authenticate its evidence,

   but it failed to do so, and Bell neglected to provide any explanation for its failure. Westfield asserts

   that Bell has failed to establish good cause for its failure to authenticate its evidence, and thus, Bell

   should be held accountable for its failings and not be permitted to provide supplementation.

           Federal Rule of Civil Procedure 56(e) does not require a showing of “good cause” before

   a court may allow a party the opportunity to properly support their summary judgment facts. The

   Court does not agree with Westfield’s position that it was unduly prejudiced when it chose to

   commit nine pages of its reply brief to evidentiary objections. Additionally, the Court considers it

   important that Westfield had the underlying designated evidence and was able to reply to that

   evidence and Bell’s arguments, and the evidence could be presented in a form that would be

   admissible in evidence at trial. Therefore, in the interest of justice, and based on the Court’s

   preference to decide cases on the merits rather than on procedural oversights, Bell’s Motion to

   Supplement Appendix (Filing No. 216) is granted for the purpose of authenticating the

   previously-filed designated evidence.

   C.      Bell’s Motion to File Surreply (Filing No. 217)

           Bell also asks the Court for leave to file a surreply brief in opposition to Westfield’s

   summary judgment motion on the bad faith claim. Bell argues that Westfield advanced new



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   evidence and arguments and also challenged the admissibility of Bell’s response evidence in

   Westfield’s reply brief, and as such, Bell is entitled to file a surreply brief.

            Westfield responds that Bell’s proposed surreply brief far exceeds the scope of a surreply

   allowed by Local Rule 56-1(d). Westfield argues that its reply materials were simply a direct

   rebuttal of Bell’s response arguments and evidence, which does not open the door to a surreply.

   Additionally, Westfield asserts, Local Rule 56-1 required it to object in its reply brief to Bell’s

   response evidence; thus, these objections should not open the door to an overly-broad surreply

   brief.

            The “purpose for having a motion, response and reply is to give the movant the final

   opportunity to be heard and to rebut the non-movant’s response, thereby persuading the court that

   the movant is entitled to the relief requested by the motion.” Lady Di’s, Inc. v. Enhanced Servs.

   Billing, Inc., 2010 U.S. Dist. LEXIS 29463, at *4 (S.D. Ind. Mar. 25, 2010). However, “new

   arguments and evidence may not be raised for the first time in a reply brief. Reply briefs are for

   replying, not raising new arguments or arguments that could have been advanced in the opening

   brief.” Reis v. Robbins, 2015 U.S. Dist. LEXIS 23207, at *5 (S.D. Ind. Feb. 26, 2015) (citations

   omitted). “[T]his serves to prevent the nonmoving party from being sandbagged.” Id. (citation

   omitted). Courts allow a surreply only in limited circumstances to address new arguments or

   evidence raised in the reply brief or objections to the admissibility of the evidence cited in the

   response. See, e.g., id.; Miller v. Polaris Labs., LLC, 2014 U.S. Dist. LEXIS 18161, at *4–5 (S.D.

   Ind. Feb. 12, 2014).

            The Court has carefully reviewed the parties’ summary judgment briefing, including Bell’s

   proposed surreply brief. In its reply brief, Westfield challenged the admissibility of Bell’s response




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   evidence, and it also designated new evidence. These are sufficient reasons to allow Bell’s surreply

   brief. Further, Bell asserted:

           Westfield raises new arguments in its Reply. Westfield devotes a significant section
           of its “Argument” to a discussion of National Athletic Sportswear, Inc. v. Westfield
           Insurance Co., 528 F.3d 508 (7th Cir. 2008), claiming that that case supports its bid
           for partial summary judgment. (Dkt. 206 at 23-25.) Westfield did not cite this
           authority in its Summary Judgment Motion, and Bell should also be permitted in
           its surreply to address the new arguments asserted by Westfield in its Reply.

   (Filing No. 217 at 4.)

           Bell’s argument regarding the National Athletic Sportswear case and Westfield’s alleged

   new argument is not correct. Westfield’s reply argument is a rebuttal to Bell’s response argument.

   The fact that Westfield relied upon a previously uncited case does not mean that it has presented a

   new argument. Westfield simply presented additional case law to support its argument. This is not

   grounds for leave to file a surreply. Therefore, the Court grants in part and denies in part Bell’s

   Motion to File Surreply (Filing No. 217). Bell’s proposed surreply brief submitted at Filing No.

   217-1 is deemed filed as of the date of this Entry. However, the Court will not consider the section,

   “II. Westfield’s New Legal Arguments,” on pages 12 through 13 because it improperly responds

   to the alleged new argument in the reply brief.

   D.      Westfield’s Objection to Magistrate Judge’s Order (Filing No. 181)

           Finally, Westfield filed an Objection to the Magistrate Judge’s Order at Filing No. 175,

   regarding a motion to compel discovery. Certain discovery disputes arose between the parties, and

   Bell filed a motion to compel certain discovery about “similar claims” and insurance “reserves.”

   Westfield filed a corresponding motion for a protective order. The Magistrate Judge denied

   Westfield’s motion and granted Bell’s motion to compel. The Order directed the production of

   certain documents and allowed depositions to be taken of representatives of Westfield and HSB.




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   The Order also confined the scope of the depositions to particular timeframes for Westfield and

   HSB (Filing No. 175 at 5).

          Westfield has filed a narrow objection to the discovery Order. It asserts that there are two

   clear errors in the Order based on the record in this case. First,

           [I]n the “Background” section of the Discovery Order[,] the Magistrate Judge
          mischaracterized this insurance coverage action as having arisen “from a fire
          caused by the failure of an automatic transfer switch” at Bell’s fish farm (see, Dkt.
          #175, p. 1, Page ID # 4798), when in fact the cause of the losses Bell claims in this
          lawsuit are clearly in dispute.

   (Filing No. 181 at 2.) Second,

          [T]he Magistrate Judge transposed the implementation dates for Westfield’s and
          HSB’s new claims systems (see, Dkt. #175, p. 5, Page ID #4802), and ordered the
          scope of Bell’s requested Rule 30(b)(6) deposition of Westfield to be limited to a
          time period January 2014 to the present when the implementation date of
          Westfield’s new claim system is October 2014, and ordered the scope of Bell’s
          requested Rule 30(b)(6) deposition of HSB to be limited to a time period October
          2014 to the present when the implementation date of HSB’s new claim system is
          January 2014.

   Id.

          Westfield notes that Bell agreed to the second correction but would not agree to the first

   correction. Id. The Court notes that Bell did not respond or object to Westfield’s Objection. A

   review of the record in this case shows that the parties dispute the cause of loss and whether a fire

   was part of the incident that gave rise to the claim. No conclusive determinations have been made

   in this case regarding a fire and a cause of loss. Thus, the Court determines that it was premature

   for the Magistrate Judge to include language in the background section of the discovery Order

   regarding a fire causing a loss. Therefore, the Court will amend the discovery Order as requested

   in Westfield’s Objection. That portion of the Order at Filing No. 175 at 1 will now read, “This

   insurance coverage action arises from an alleged fire caused by the failure of an automatic transfer

   switch at . . . .” The record also supports Westfield’s Objection regarding the transposed dates

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   (Filing No. 167, ¶4; Filing No. 168, ¶10), and thus, the Court amends the Order to reflect that the

   scope of the required searches and Bell’s Rule 30(b)(6) depositions of Westfield be limited to the

   time period October 2014 to the present, and the scope of Bell’s Rule 30(b)(6) deposition of HSB

   be limited to a time period January 2014 to the present.

                                           CONCLUSION

          For the reasons explained above, Bell’s Motion to Incorporate (Filing No. 193) is

   GRANTED; Bell’s Motion to Supplement Appendix (Filing No. 216) is GRANTED for the

   purpose of authenticating the previously-filed designated evidence; Bell’s Motion to File Surreply

   (Filing No. 217) is GRANTED in part and DENIED in part, and the proposed surreply brief

   submitted at Filing No. 217-1 is deemed filed as of the date of this Entry, but the Court will not

   consider the section, “II. Westfield’s New Legal Arguments,” on pages 12 through 13; and

   Westfield’s Objection to Magistrate Judge’s Order (Filing No. 181) is GRANTED.

          SO ORDERED.

   Date: 3/25/2019




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